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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11     KEVIN G. DOUGHERTY,                              Case No. 16cv2909-JAH (BLM)
12                                     Plaintiff,
                                                        ORDER VACATING HEARING
13     v.                                               DATE AND TAKING MOTION
                                                        UNDER SUBMISSION
14
       GUILD MORTGAGE COMPANY,
15
                                     Defendant,
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17
18     UNITED STATES OF AMERICA,
19
                                    Intervenor.
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21
22          After careful review of the parties’ submissions, the Court deems Defendant Guild
23    Mortgage Company’s (“Defendant”) Motion to Dismiss (Doc. No. 110) suitable for
24    adjudication without oral argument. See CivLR 7.1 (d.1).
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26    //
27    //
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                                                                             16cv2909-JAH (BLM)
     Case 3:16-cv-02909-JAH-BLM Document 120 Filed 05/09/19 PageID.2102 Page 2 of 2


 1          Accordingly, IT IS HEREBY ORDERED that Defendant’s motion is taken under
 2    submission without oral argument, and the hearing date set for July 8, 2019, at 2:30 p.m.,
 3    before this Court, is VACATED.
 4          IT IS SO ORDERED.
 5    DATED: May 8, 2019
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 7                                                 _________________________________
 8                                                 JOHN A. HOUSTON
                                                   United States District Judge
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